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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

CHRISTOPHER N. CUMMINGS,                   )
on behalf of himself and all               )
others similarly situated,                 )
                                           )
      Plaintiffs,                          ) CIVIL ACTION FILE NO.
                                           ) 5:21-CV-00212-MTT
JORGE’S TIRE REPAIR, LLC and               )
JORGE SAMUDIO.                             )
                                           )
      Defendants.                          )

                     SCHEDULING AND DISCOVERY ORDER

      The parties held a Rule 26(f) conference on September 23, 2021. In

accordance with Local Rule 26, the parties to this action conferred and developed

this Proposed Scheduling and Discovery Order (the “Proposed Order”) containing

deadlines and limitations as follows:

I. Nature of the Case:

      (a)    Describe briefly the nature of this action.

      Plaintiff Christopher Cummings filed the instant Complaint on June 25,

2021, on behalf of himself and all other similarly-situated mechanics employed by

Defendants, alleging violations of Plaintiff’s rights under the Fair Labor Standards

Act, 29 U.S.C. § 201, et seq.(“FLSA”). Specifically, Plaintiff claims that

Defendants’ compensation structure violates the overtime provisions of the FLSA,
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depriving him and all similarly situated mechanics of overtime for every hour

worked over 40 in a particular workweek. Defendants deny they have violated the

Fair Labor Standards Act.

      The legal issues to be tried are as follows:

   1. Whether Plaintiff and similarly-situated mechanics were unlawfully denied

      straight and overtime compensation in violation of the Fair Labor Standards

      Act (FLSA), 29 U.S.C. § 201, et seq.

   2. Whether Jorge Samudio was Plaintiff’s employer.


II. Counsel of Record:

      The following individually-named attorneys are designated lead counsel for

the parties:

For Plaintiff:

      Tyler B. Kaspers
      The Kaspers Firm, LLC
      152 New Street, Suite 109B
      Macon, Georgia 31201
      (404) 944-3128
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For Defendant:

      Whitney M. Dupree
      Spire Law, LLC
      2572 W. State Road 426, Ste. 2088
      Oviedo, Florida 32765
      (407) 494-0135
      whitney@spirelawfim.com

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III. Complaint and Answer filing dates:

       Complaint was filed:            June 25, 2021

       Amended Complaint was filed: July 23, 2021

       Answer was filed:               August 31, 2021

III. Discovery Deadlines:

       A. Time for Discovery

       The time for discovery in this case shall expire February 28, 2022, that being

no more than 180 days after the submission of Defendants’ Answer to the Court.

       If a party believes that more time for discovery is needed, an appropriate

motion, accompanied by a proposed order for the Court, may be filed setting forth

good cause for an extension.

       B. Scope of Discovery

       The parties intend to conduct discovery into the following non-exhaustive

list of topics:

       The hours, per week, Plaintiff worked for Defendants;

       The amount of compensation received by Plaintiff from Defendants; and

       Whether there is a class of individuals who worked for defendants who are
       similarly situated to Plaintiff in regards to Plaintiff’s overtime claims.




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      C. Electronically Stored Information

      A substantial portion of discovery in this matter will be electronic, including,

but not limited to timesheets and paystubs, kept by Defendants that reflect the

hours worked by Plaintiffs. The parties intend to streamline the production of

these documents (i.e., limit the production in temporal scope and by subject matter

and/or keywords), and will inform the Court if any issues arise in their production.

      D. Privilege Claims

      To the extent any issue regarding privilege or protection arises, the parties

will attempt to resolve any such issue before requesting assistance from the Court,

including, but not limited to, the entry of a Protective Order in this matter.

      E. Witnesses to be Deposed

By Plaintiff:

      Current and former employees of Defendants with knowledge of
      Defendants’ pay practices and policies; the addresses of these employees are
      in Defendants’ possession;

      Company (30(b)(6)) representative(s) for Defendant Jorge’s Tire Repair,
      LLC; and

      Defendant Jorge’s Tire Repair, LLC’s owner(s) and operator(s).

By Defendants:

      Plaintiff Christopher Cummings.




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      F. Expert Witnesses

             1. Designation of Experts

      The Plaintiff must disclose the identity of any expert witness on or before

November 29, 2021, that being no more than 90 days after the submission of

Defendants’ Answer to the Court.

      The Defendant must disclose the identity of any expert witness on or before

December 29, 2021, that being no more than 120 days after the submission of

Defendants’ Answer to the Court.

             2. Expert Reports

      Expert reports shall comply with Federal Rule of Civil Procedure

26(a)(2)(B). Any supplemental expert reports must be served on or before

February 7, 2022, that being no more than 160 days after the submission of the

Defendants’ Answer to the Court. No additional supplemental reports may be

disclosed or provided after this date without leave of Court.

      G. Discovery Limitations or Need for Protective Order

      The parties agree that requests for admission that are propounded solely to

authenticate documents as provided for under Federal Rule of Civil Procedure

36(a)(1)(B) are excluded from Local Rule 36's limitation on the number of requests

to admit that can be propounded.




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      H. Discovery Disputes

      Before moving for an order relating to discovery, including motions to

compel or contested motions for protective orders, the movant must contact Kim

Tavalero, Courtroom Deputy (478) 752-0717 to request a telephone conference

with the Court.

IV. Time for Filing Motions:

      A. Motions to Amend the Pleadings or to Join Parties

      All motions seeking to amend the pleadings or to join parties must be filed

no later than November 1, 2021, that being no more than 60 days after the

submission of Defendants’ Answer.

      B. Dispositive Motions

      All dispositive motions must be filed no later than March 30, 2022, that

being no more than 30 days after the expiration of discovery in this case.

      C. Daubert Motions

      All Daubert motions must be filed no later than March 30, 2022, that being

no more than 30 days after the expiration of discovery in this case.

V. Certification of the Parties and Counsel:

      The Parties, by the signature of counsel below, certify they have conferred

and discussed the nature and basis of their claims and defenses and the possibilities

for prompt settlement or resolution of the case, pursuant to Local Rule 26(a).


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      Counsel further certify they have read the Court’s Rules 16 and 26 Order.

All counsel of record shall digitally sign below.



      This 13th day of October, 2021.


 /s/ Tyler B. Kaspers            /s/ Whitney M. DuPree
Tyler B. Kaspers                 Whitney M. DuPree
The Kaspers Firm, LLC            Spire Law, LLC
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Macon, Georgia 31201             Oviedo, Florida 32765
(404) 944-3128                   (407) 494-0135
tyler@kaspersfirm.com            whitney@spirelawfim.com

Counsel for Plaintiff(s)         Counsel for Defendant(s)



      The Court, having reviewed the information contained in the Proposed

Scheduling and Discovery Order completed and filed jointly by the parties to this

action, hereby ADOPTS the parties’ plan and MAKES IT THE ORDER OF

THE COURT.

      SO ORDERED, this 14th day of October, 2021.


                                        S/ Marc T. Treadwell
                                        _________________________
                                        MARC T. TREADWELL, CHIEF JUDGE
                                        UNITED STATES DISTRICT COURT




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